Case 24-50512-grs      Doc 5   Filed 04/30/24 Entered 04/30/24 09:53:30   Desc Main
                               Document      Page 1 of 1




                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF KENTUCKY
                                Lexington Division


   In re:

      Donald Anthony Fitzpatrick                 Case No. 24-50512
      Ashley Louise Fitzpatrick                  Chapter 11

            Debtors.


                               Notice of Appearance

     Bradley M. Nerderman, enters an appearance in this matter on behalf of

  Paul A. Randolph, Acting United States Trustee, and requests service of all

  electronic notifications under the Court’s Case Management and Electronic

  Case Filing System.

  Dated: April 30, 2024                          Paul A. Randolph
                                                 Acting United States Trustee

                                                 By:/s/ Bradley M. Nerderman
                                                    John L. Daugherty
                                                    Assistant U.S. Trustee
                                                    Bradley M. Nerderman
                                                    Trial Attorney
                                                    Office of the U.S. Trustee
                                                    100 E. Vine St., Suite 500
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